Case 9:23-cr-80101-AMC Document 596 Entered on FLSD Docket 06/03/2024 Page 1 of 3




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   WEST PALM BEACH DIVISION

                                   CASE NO. 23-80101-CR-CANNON

      UNITED STATES OF AMERICA,

                            v.

      DONALD J. TRUMP,
      WALTINE NAUTA, and
      CARLOS DE OLIVEIRA,

                            Defendants.
                                                            /

                                            NOTICE OF FILING

          Defendant Waltine Nauta, by and through the undersigned counsel, and pursuant to the

  Court’s May 9, 2024, Order (ECF No. 539), hereby gives notice of the sealed filing of the

  response by the Special Counsel’s Office to Mr. Nauta’s April 13, 2024, Motion for Disclosure

  and Transfer, 1 as well as Mr. Nauta’s reply memorandum in support of his motion. These

  submissions were originally filed with the United States District Court for the District of

  Columbia on April 22, 2024, and April 30, 2024, respectfully, and were docketed with this Court

  under seal on April 30, 2024 (ECF No. 499) (Exhibits C and D, respectively). 2



                                       [SIGNATURE BLOCK NEXT PAGE]




  1
   Mr. Nauta’s Motion was docketed with this Court under seal on April 25, 2024 (ECF No. 481) (Ex. A), the public
  notice thereof was docketed with this Court on April 29, 2024 (ECF No. 497).
  2
    These submissions were docketed in case numbers: 22-gj-40; 22-gj-45; 23-gj-10; and 23-gj-12. So as to avoid
  multiplicitous docketing with this Court, however, only one copy of the Order is being filed here.
Case 9:23-cr-80101-AMC Document 596 Entered on FLSD Docket 06/03/2024 Page 2 of 3




   Date: June 3, 2024                       Respectfully submitted,

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                                        2
Case 9:23-cr-80101-AMC Document 596 Entered on FLSD Docket 06/03/2024 Page 3 of 3




                                 CERTIFICATE OF SERVICE

         I hereby certify that on June 3, 2024, I electronically submitted the foregoing via CM/ECF,

  to counsel of record.

                                                               s/ Sasha Dadan
